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                                UNITED STATES DISTRICT COURT
                                          FOR THE
                                SOUTHERN DISTRICT OF FLORIDA



     UNITED STATES OF AMERICA


       v.                                            CASE NO: 23-CR-20089-WILLIAMS


     ALVARO LEDO NASS,
                     Defendant
     _______________________________________/



                     ALVARO LEDO NASS’S SENTENCING MEMORANDUM

     The defendant, ALVARO LEDO NASS, through undersigned counsel, respectfully

     submits this memorandum in aid of sentencing to supplement the information contained in

     the Presentence Investigation Report (“PSR”) and assist the Court in fashioning a sentence

     that is “sufficient, but not greater than necessary” to fulfill the federal sentencing

     requirements of 18 U.S.C. § 3553(a).



                                          INTRODUCTION

     At 43 years of age, Alvaro Ledo Nass comes before the Court for the very first time in his

     life. This is his first contact with the criminal justice system. On March 29, 2023, Alvaro

     Ledo Nass pled guilty to a one-count Information charging him with conspiracy to

     commit money laundering in violation of 18 U.S.C. § 1956(h) and 1957(a). Sentencing

     is scheduled for June 12, 2023.




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     Pursuant to the written plea agreement, at paragraph (“¶”) 9, among other things, the

     government has acknowledged that Mr. Ledo Nass has rendered substantial

     assistance that rises to the level of substantial and extraordinary in the investigation

     or prosecution of other persons who have committed an offense. Accordingly, and

     pursuant to 18 U.S.C. §3553(e) and/or § 5K1.1 of the Sentencing Guidelines, the

     government has agreed to move at the time of sentencing for a departure from the

     advisory guideline range.



     Once the Court determines the appropriate reduction for the defendant’s substantial

     cooperation, Mr. Ledo Nass respectfully submits that based on the factors set forth in

     18 U.S.C. § 3553(a), the Court should grant a further downward variance below the

     point determined after consideration for substantial assistance. Mr. Ledo Nass is a

     first-time offender who has committed a nonviolent offense. He voluntarily came to

     the United States without an arrest warrant, without extradition, without Indictment

     or any obligation, at his own expense, on November 1, 2021. He thereafter

     immediately began cooperating. He has been at liberty on bond since February 2023,

     following his arraignment. Beyond his cooperation, the Court will see that Mr. Ledo

     Nass’s personal characteristics and attributes make it unlikely that he will reoffend

     and support a high probability that he will be rehabilitated without the need for a

     lengthy term of incarceration in the Federal prison system.




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                  SENTENCING UNDER 18:3553(a) AND THE GUIDELINES

     As the Court is aware, although the Federal Sentencing Guidelines remain significant,

     they are no longer mandatory. The sentencing guidelines are not the only factor to

     be weighed by the Court in its determination of a punishment that is sufficient, but

     not greater than necessary, to satisfy the purposes and goals set forth in 18 U.S.C. §

     3553(a), Gall v. United States, 552 U.S. 38, 49-50 (2007). Under Gall, the advisory

     guideline range does not have “any particular weight.” United States v. Irey, 612 F.3d

     1160, 1217 (11th Cir. 2010) (en banc). As this Court is well aware, a sentencing judge

     must conduct his or her own evaluation of the § 3553(a) factors and may “reject (after

     due consideration) the advice of the Guidelines.” Kimbrough, 552 U.S. at 113.



     This Court, after making an individualized assessment, will be able to fashion a

     reasonable sentence that is “sufficient, but not greater than necessary,” to fulfill the

     federal sentencing requirements of 18 U.S.C. § 3553(a); that being, the lowest

     sentence that accounts for all of the relevant statutory factors. Those statutory factors

     include: (1) the nature and circumstances of the offense and the history and

     characteristics of the defendant; (2) the need for the sentence to reflect the

     seriousness of the offense, to promote respect for the law, and to provide just

     punishment; (3) the kinds of sentences available; (4) the Guidelines range; (5) policy

     statements issued by the Sentencing Commission; (6) the need to avoid unwarranted

     sentencing disparity; and (7) the need to provide restitution.




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                             Nature and Circumstances of the Offense

     The purpose of the money laundering conspiracy was to launder funds embezzled

     from Petroleos de Venezuela, S.A. (“PDVSA”) by Venezuelan officials. The defendant,

     at the young age of 32, became an official at PDVSA and its subsidiaries. He became a

     part of an already corrupt organization where the environment facilitated, in fact

     necessitated, his drift in that direction. He participated with the co-conspirators in

     foreign currency exchange schemes using loan contracts with PDVSA and received

     bribe payments in return. As time went by, his illicit conduct weighed heavily on him,

     and he resigned. In 2015 and after his life was threatened, he and his family relocated

     to Panama; then, in 2018 they relocated to Spain. In 2018, he hired an attorney and

     began cooperating with the United States government. Mr. Ledo Nass voluntarily

     came to the United States without an arrest warrant, without extradition, without

     Indictment or any obligation, at his own expense, on November 1, 2021. He began

     cooperating without even knowing the charges or penalties he would face. He has

     been cooperating with the U.S. government since that time.



     By voluntarily coming to the United States, the defendant saved the government the

     time and expense of extradition. Extradition is costly and time consuming. As a

     lifelong resident of Venezuela, Mr. Ledo Nass had never before resided in the United

     States (he has previously travelled to the U.S. for pleasure). He chose to come here to

     right this wrong and be able to move on with his life. He fully and completely

     cooperated and expeditiously entered a plea of guilty. Mr. Ledo Nass has totally and

     unequivocally accepted responsibility for his involvement in this conspiracy. He has



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     taken great steps to right this wrong; most importantly his ongoing cooperation with

     the government and forfeiture to the U.S. government every penny he received in

     illicit bribes. The resulting conservation of judicial and prosecutorial resources merit

     consideration when determining a reasonable sentence in this case. It also is

     significant evidence of this defendant’s character.



                  Alvaro Ledo Nass’s Personal History and Characteristics

     Alvaro Ledo Nass was born in 1980 in Venezuela. He is the son of an administrative

     attorney (with 50 years of practice) and an oncologist (with 50 years of practice, and

     recognized author and academic). He has one sibling; a brother, also an attorney. The

     defendant’s parents remain supportive and have submitted letters for this Court’s

     consideration. His father expressed his unconditional love and support for the

     defendant and described his son as a good son, husband, father, brother and friend.

     He also noted the defendant’s willingness to help the neediest of their neighbors.



     The defendant grew up in an intact family under upper-middle socioeconomic

     conditions under loving but strict conditions.        Education was important and

     encouraged by his parents. The defendant excelled in this area as noted in ¶s 177

     through 180 of the PSR, graduating from all programs cum laude or with highest

     academic honors.



     Alvaro Ledo Nass is an attorney by profession. During his private legal practice

     between 2004 through the end of 2011, Ledo was an Associate Professor of Public



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     Law in Monteavila University in Caracas, an Assistant Professor of Public Law in

     Catholic University Andres Bello (UCAB), and Central University of Venezuela (UCV).

     Ledo Nass is the Founder Member of Institute for Investigation of Public Law in

     Monteavila University Caracas.     During this time, he wrote approximately 12

     academic papers.



     During his legal career, he excelled in the oil and energy area and in finance and

     corporate law. He was hired by international law firms to co-represent its clients in

     big cases of international concern. At the end of 2011, top management in PDVSA was

     looking for a legal technical expert in the area, that could understand and internally

     manage the big projects and arbitration cases. By recommendation of one of his

     academic mentors and based on his highly-rated experience and reputation, Ledo

     Nass was contacted and hired as General Counsel of Corporacion Venezolana del

     Petroleo (CVP), a 100% owned subsidiary of PDVSA in charge of all projects in

     association with private oil companies. By the end of 2012, at only 32 years of age,

     Ledo Nass was selected to become Secretary of the Board of PDVSA, and in between

     September 2014 to March 2015 he was also appointed as General Counsel of PDVSA.

     There, the defendant found a very different atmosphere from his life in academics and

     his private legal practice. Corruption was common and the foreign currency exchange

     schemes using loan contracts with PDVSA and the payment of bribes was ongoing.

     Ledo Nass found outside influences and the struggles for power within his new

     working environment highly complex and corrupt in employing his responsibilities.

     Between November 2012 and March 2017 Ledo felt pressure to participate and did



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     participate, as he fully accepts responsibility for the illicit conduct as outlined in his

     factual proffer.



     After only six months as General Counsel of PDVSA, in 2015, and after a threat was

     made against his life, Ledo Nass resigned his positions and he and his family relocated

     to Panama where he returned to private practice. In 2018, he and his family relocated

     to Spain, where they were living when he decided to surrender and resolve this

     matter.



     The defendant is married with two children, ages 12 and 15; and, a married

     stepdaughter, age 24. His wife, Ines Angrisano, is an attorney by profession; however,

     she has not worked outside the home and is a full-time parent. She remains

     completely supportive of the defendant, describing him as an exceptional husband

     and father. In fact, she has relocated her family and her life, following the defendant

     to Panama, Spain and then the United States, supporting his steps at righting his

     wrong and moving on in a law-abiding life. Ledo Nass is the sole financial support of

     his family.



     The defendant provided several character letters from various people. Notably, many

     predate the defendant’s involvement in this case. This evidences the defendant’s

     community service and good deeds have been ongoing and not done just to claim such

     before this Court for sentencing.




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     The defendant’s wife, Ines Valentina Angrisano, wrote a letter for the Court’s

     consideration. She said they met when the defendant was only 21 years old. After

     excelling in his studies, the defendant concentrated on work and family, becoming a

     successful professional and an exceptional father and husband. Then, the defendant

     made a serious mistake at work. Since that time his life has not been the same. She

     believes that his voluntary admission to this Court evidences an unwavering act of

     faith, a display of unconditional love and proof of his absolute regret. Further, his

     acceptance of responsibility and acceptance of the consequences teaches their

     daughters “by example” that actions have consequences. She remains completely and

     unequivocally supportive of the defendant.



     The defendant’s stepdaughter, Isabel Murillo, also wrote a letter for the Court. She

     said the defendant has helped support her since she was two years old. She described

     him in positive terms and said he is an example of how she would like the father of

     her children to be. She expressed gratitude to have been raised by him and has not

     lost hope that their family will soon have a normal life again. She remains completely

     supportive of him. Her husband, Jesus Vargas, also wrote a letter to the Court. He

     said from the moment they met, the defendant opened his home to Mr. Vargas. He

     expressed complete support for the defendant who has admitted his mistakes and

     taken positive steps to correct them.



     The defendant’s 15-year-old daughter, Maria Valentina, wrote a letter for the Court’s

     review. She is an exceptional student and volunteer. Because she does not have legal



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     status in the United States, she is unable to apply for a scholarship for college. Thus,

     after high school graduation she will relocate to Europe to attend a university. She is

     aware of the defendant’s case and remains completely supportive of him. She said he

     is taking responsibility for the consequences of his actions which is what he has

     always told his children to do. The defendant’s 12-year-old daughter, Leticia, wrote

     that the defendant is her best friend and the person she admires the most. She said

     he told her that in his last job he made a big mistake, but wanted to fix it and that is

     why she has come to the U.S. with him “to tell the truth.” She is completely supportive

     of him.



     Marcos Saldubehere wrote that he met the defendant when they were neighbors in

     Panama during 2016. Their respective daughters were friends. Mr. Saldubehere

     noted he had a difficult time during his stay in Panama since his wife was battling

     cancer. The defendant and his family provided invaluable emotional and spiritual

     support to them and they attended church together during that time. The two

     families reunited again in 2022, in the United States. Although he does not know the

     exact reasons for his judicial case in the United States, Mr. Saldubehere has observed

     in the defendant a sincere sense of remorse and a notable maturity.



     Rosa Andreina Angrisano Agudo met the defendant (who is now her brother-in-law)

     23 years ago, when she was a lawyer and he was attending law school. She described

     him as a young, polite and disciplined student who prioritized his studies which led

     him to achieve honors at the university. She recalls that despite being the youngest



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      member of their study team, they chose to go to him for their consulting needs

      because his knowledge and experience were greater than the students who were

      graduating. Because of his principles, his dedication, his belief in God and his quality

      as a human being, Ms. Angrisano and her former husband chose the defendant to be

      the godfather to their two daughters. He assisted her during her divorce – not only

      with the legal aspect of it but also providing emotional support and personal

      assistance. As a husband and father, Alvaro has proven to be unbeatable. He has

      instilled necessary values and principles in his daughters. He has made a mistake like

      all human beings do – and he has already been paying for it for several years through

      moves and being apart from his nuclear family. She asks the Court to have mercy on

      him and be lenient.



      Community leaders advised the defendant was a “great contributor” and community

      service volunteer to low-income families who live in several rural communities

      (Tusmare Abajo, La Garrapata and Corralito) of Venezuela. He also provided financial

      support when needed. Community leaders provided a character letter in support of

      the defendant dated October 3, 2021. In June 2022, Jose Celestino Rojas wrote a

      personal reference that he has known the defendant for ten years and the defendant

      is a responsible person with deep-rooted Christian principles.



      In 2015, the Venezuelan Journal of Oncology commended the defendant for his legal

      efforts in updating their web platform. In 2006 and again in 2020, the Venezuelan




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      Society of Oncology wrote a letter thanking the defendant for providing free legal

      services and for being a part of their volunteer social servants.



      The defendant submitted several character letters in his support from religious

      institutions. In September 2020 and on behalf of “Our Senora del Carmen” located in

      Venezuela, the defendant was described as a serious, honest, responsible person with

      impeccable behavior. A retired Bishop wrote the defendant showed himself as a

      practicing Catholic and cared for the neediest people. He described the defendant as

      a serious, honest and responsible person. In May 2023 a member of Free Life Church

      in Leesburg, Virginia wrote that she has known the defendant for 15 years and he is

      of excellent moral character.



      While Ledo has been under pretrial supervision only since February 28, 2023, he

      voluntarily came to the United States to surrender and cooperate in November 2021.

      Ledo is highly likely to do well on supervised release or probation based on his

      exemplary performance while at liberty before his arrest (since November 2021), and

      later on pretrial services supervision since his voluntary surrender and arrest in

      February 2023.      No violations have been filed as he is fully compliant with his

      conditions and he has maintained contact with the government the entire time.



                                      No Criminal History

      Mr. Ledo Nass has no criminal history of any kind. He is a 43-year-old defendant with

      absolutely no prior arrests or convictions, placing him in the lowest possible criminal



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      history category of I with zero criminal history points. Mr. Ledo Nass is a true first

      offender. As such, he is among the category of offenders who present the lowest risk

      to reoffend.



      The Sentencing Table in Chapter Five, Part A of the Guidelines Manual comprises two

      components: offense level and criminal history category. Criminal history forms the

      horizontal axis of the table and is divided into six categories, from I (lowest) to VI

      (highest). Chapter Four, Part A of the Guidelines Manual provides instructions on how

      to calculate a defendant’s criminal history category by assigning points for certain

      prior convictions. Criminal History Category I includes offenders with zero criminal

      history points and those with one criminal history point. Accordingly, the following

      types of offenders are classified under the same category: (1) offenders with no prior

      convictions; (2) offenders who have prior convictions that are not counted because

      they were not within the time limits set forth in subsection (d) and (e) of §4A1.2

      (Definitions and Instructions for Computing Criminal History); (3) offenders who

      have prior convictions that are not used in computing the criminal history category

      for reasons other than their “staleness” (eg., sentences resulting from foreign or tribal

      court convictions, minor misdemeanor convictions, or infractions); and (4) offenders

      with a prior conviction that received only one criminal history point.



      Recidivism data analyzed by the Sentencing Commission suggest that offenders with

      zero criminal history points (zero-point offenders) have considerably lower

      recidivism rates than other offenders, including lower recidivism rates than the



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      offenders in Criminal History Category I with only one criminal history point. [See U.S.

      SENTENCING COMMISSION, RECIDIVISM OF FEDERAL OFFENDERS RELEASED 2010

      (2021),       https://www.ussc.gov/research/research-reports/recidivism-federal-

      offenders-released-2010]      Among other findings, the research reflected on this

      report concluded that “zero-point” offenders were less likely to be rearrested than

      “one point” offenders (26.8% compared to 42.3%), the largest variation of any

      comparison of offenders within the same Criminal History Category.



      As a result, the Commission has promulgated an amendment to Chapter 4 of the

      Guidelines to address these zero-point offenders. In new § 4C1.1, effective November

      1, 2023, offenders who meet all of ten criteria listed are eligible to receive a two-level

      decrease in their offense level under Chapters Two and Three. Mr. Ledo meets all

      criteria listed (see our objections to the PSR filed May 24, 2023 under D.E. 20). As

      such, Mr. Ledo asks this Court to give him credit, in the form of a variance, for this

      amendment. Notably, the parties have consulted and want the Court to know that

      should the Court agree and give Mr. Ledo Nass credit for this upcoming amendment,

      the defendant will not come before the Court after November 1, 2023, and ask for this

      two-level reduction.



      However, Mr. Ledo’s criminal history is “cleaner” than the zero-point offender.

      These zero-point offenders can have prior convictions that are not counted because

      they were not within the time limits set forth in subsection (d) and (e) of §4A1; and/or

      prior convictions that are not used in computing the criminal history category for



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      reasons other than their “staleness” (eg., sentences resulting from foreign or tribal

      court convictions, minor misdemeanor convictions, or infractions). They can also

      have prior contact with the criminal justice system that did not result in a conviction.

      Mr. Ledo has no prior contact with the criminal justice system. Thus, Mr. Ledo

      Nass asks that this Court take his clean record into account when fashioning the

      appropriate sentence in this case.



                                  Physical and Mental Health

      Alvaro Ledo Nass is a 43-year-old man with a history of physical and mental health

      problems. He had a heart attack when he was only 27 years old, and was treated with

      a stent. He has lived with a heart condition ever since. He has high blood pressure,

      high cholesterol, coronary heart disease and metabolic syndrome.              He takes

      numerous medications. His doctors said he needs to be close to a medical facility that

      can take care of cardiac patients and requires close medical supervision. See PSR at

      ¶s 167 – 170.



      In addition, the defendant has a mental and emotional condition, to include

      depression, generalized anxiety disorder and generalized panic disorder. He takes

      several medications for these conditions as well. The defendant asks this Court to

      consider that his heart condition is affected by, and often exacerbated by, his mental

      and emotional condition.




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      While some people feel Covid-19 is old news, it is still one of the leading causes of

      death in the United States. In fact, in a Washington Post article dated May 5, 2023,

      “The White House recently received a sobering warning about the potential for the

      coronavirus to come roaring back, with experts reaching a consensus that there’s a

      roughly 20 percent chance during the next two years of an outbreak rivaling the

      onslaught       of      illness    inflicted     by      the      omicron       variant.”

      https://www.washingtonpost.com/health/2023/05/05/covid-forecast-next-two-

      years/ The defendant notes that while he has been vaccinated against Covid, the

      defendant does have several of the medical conditions cited by the Centers for Disease

      Control (diabetes and heart conditions) that may make him severely ill if he contracts

      Covid, which is still possible for the vaccinated. The defendant asks this Court to take

      his health into consideration when fashioning an appropriate sentence, and to

      consider 28 U.S.C. § 994(j) that directs that alternatives to incarceration are generally

      appropriate for first offenders not convicted of a violent or otherwise serious offense.



                                        Sentencing Parity

      According to court records of co-conspirators, the most culpable category (“Level 1”)

      of defendants would be those who masterminded and benefitted from the schemes,

      and who bribed the foreign officials to obtain access to the PDVSA loan contract which

      allowed them to gain the illegal proceeds, and who also laundered the proceeds for

      their and other co-conspirators’ benefit. The next level of culpability (“Level 2”)

      involves the bribe recipients, the money launderers, and the facilitators of the money

      laundering. Within this level, the culpability varies based on the nature of their job(s).



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      This level includes Urdaneta, Hernandez-Frieri, Ortega and Ledo. The next level

      (“Level 3”) would be those connected to the money launderers and others involved in

      the criminal conspiracy.



      Urdaneta was a foreign official who received bribes and engaged the services of an

      individual who laundered his illegal proceeds for his own benefit. In addition, he

      created the legal mechanism by which the Companies C-D Loan Scheme operated and

      drafted the loan contract. A similar legal mechanism and loan contract were utilized

      in the Eaton-Rantor Loan Scheme in which Urdaneta agreed not to interfere in the

      loan approval process.     Urdaneta personally obtained over $49 million in U.S.

      currency in bribe payments in exchange for his corrupt acts and decisions in his

      capacity as Legal Counsel for the Venezuelan Ministry of Oil, which was the

      Venezuelan ministry responsible for the oversight of PDVSA. This was via two

      separate schemes over the course of more than a year between 2012 and 2017. In

      addition, Urdaneta directed an individual who later became a Cooperating Source

      (“CS”) to receive and launder an additional €78.8 million in Euros of illicit funds.

      Urdaneta’s advisory guideline sentence was 120 months. He was sentenced to 52

      months imprisonment.



      Hernandez-Frieri was a sophisticated, international businessperson with a law

      degree, who repeatedly used his financial advisory firm, Global Security Advisors

      (“GSA”), and other entities under his control, including Global Securities Trade

      Finance (“GSTF”), to launder over $12 million obtained, in part, from Ortega, which



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      were bribe payments in exchange for Ortega’s corrupt acts and decisions in his official

      capacity as Executive Director of Financial Planning at PDVSA. He was sentenced to

      46 months imprisonment.



      Ortega was a foreign official who took part in joint-venture schemes and agreed to

      accept over $15 million in U.S. currency in bribe payments in exchange for his corrupt

      acts and decisions in his official capacity as Executive Director of Financial Planning

      at PDVSA over a two-year period between 2012 and 2014. As such, Ortega was in an

      “Executive level.” Ortega then conspired to launder $12 million in U.S. currency of

      those bribe payments between 2016 and 2017 through accounts in the United States.

      (This was all after Ortega had worked for PDVSA for approximately 12 years and had

      amassed a tremendous amount of knowledge about the inner-workings of the

      company.) Ortega used a U.S.-based money launderer, Hernandez-Frieri, to help him

      conceal the bribe payments and to provide him access to them. After consideration

      of a §5K1.1 motion by the government, and factoring any defense arguments for a §

      3553(a) variance, Ortega was sentenced to 28 months imprisonment.



      Matthias Krull was a Swiss banker who assisted in facilitating the laundering of the

      proceeds obtained from the corrupt loan contract. Krull never actually held or

      controlled any proceeds from the underlying conduct (forfeiting the $600,000 he

      received in referral fees) yet was charged and sentenced based on the whole amount

      of the conspiracy, approximately $1.2 billion (10 years). Krull facilitated contact with




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      other money launderers and other co-conspirators.           He was subsequently re-

      sentenced to 15 months imprisonment, pursuant to 18 U.S.C. § 3553(a), (e).



      Ledo is the least culpable of the Level 2 offenders sentenced to date. He was the

      youngest of all of these defendants at the time he started working for PDVSA. He took

      less money, worked with PDVSA for considerably less time, was recruited by

      Urdaneta who was already involved; and, was involved in fewer fraudulent schemes.

      Ledo held positions under the Executive level held by Ortega. Ledo’s involvement and

      influence facilitated the loan’s advancement through the approval process.



                                            Forfeiture

      Alvaro Ledo Nass has agreed to forfeit, to the United States, every penny in illicit

      bribes he received as a result of this case. To date, he has agreed to forfeit $11.5

      million in funds currently held by him, or his family who have surrendered the funds.

      The funds are available as of this writing.



                                          Rehabilitation

      Mr. Ledo Nass is a lawyer by profession. In anticipation of losing the privilege to

      practice law because of the instant conviction, Mr. Ledo Nass is preparing for a career

      switch into software and web development. In this regard, Mr. Ledo Nass is currently

      enrolled in a Massachusetts Institute of Technology (MIT) program to obtain a

      Professional Certificate in Coding. This is not a vocational certificate. This is not an

      entry-level program. It required Ledo to study for approximately one year to become



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      proficient enough in the elements and foundations of any program language

      (variables, data types, control flows and languages as Java and Phyton), in order to

      qualify and enroll in this course. It is a 32-week online program with a required

      commitment of 15-20 hours per week to become a full stack developer. The MIT X

      Pro is not only a highly regarded and recognized program provided by the institution,

      but also provides comprehensive understanding and skills designing and testing

      programs, data structures and algorithms, required by a full stack developer who

      handles the entire product build-out, including the development on the client-side

      (front-end) and the server-side (back-end) of software. Full-stack developers work

      with the front-end software the client interacts with, as well as the coding and

      structuring of the server end. Mr. Ledo’s goal is to become a service provider with his

      own company and will voluntarily not work in the field of oil and gas, or in the legal

      field.



                                       Aims of Sentencing

      In addition to the substantial assistance reduction under § 5K1.1/18:3553, and

      as mentioned previously, the Court has the discretion to consider a variance under

      the totality of the §3553(a) factors, and other factors that make unique his

      cooperation, rather than rely solely on the sentencing guidelines. In this case, there

      are several mitigating factors, including the defendant’s ongoing cooperation,

      including additional cooperation factors that will be raised and discussed by counsel

      at the time of sentencing.   This will include, but not be limited to, additional and

      ongoing cooperation; his voluntary surrender with no paper at his own expense,



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      together with his performance on pretrial, the unlikelihood he will recidivate, his

      complete lack of criminal history and his family circumstances.



      Section 3553(a)(2) instructs the Court to craft a sentence that reflects the seriousness

      of the offense (just punishment) and promotes respect for the law, while at the same

      time recognizes the value and likelihood of rehabilitation. Alvaro Ledo Nass has

      cooperated fully with the government and the Court. He continues to do so. Alvaro

      Ledo Nass clearly understands the severity of his offense. He is completely repentant.

      He has done everything in his power to right this wrong. He will not recidivate. This

      Court will not see Alvaro Ledo Nass again. He deserves a sentence less than any

      defendant that has been sentenced in this case as will be more fully explained at the

      time of sentencing. A sentence of imprisonment may be better served by a sentence

      of home confinement so he can finish his education, maintain his family ties and

      support his family who have uprooted their lives to follow him and support him in his

      attempts to resolve this matter.


                                   Respectfully submitted,

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